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                                            Scuthem DistrictcfFlnrida
                United sutesofAmerka                    )
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                    BrendonFleury,                      )        caseNô.
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                                        CRIM INAL C OM PLAINT
         lvthecomplainantinthisçce,statethatth:following istroetcthebestofmy knowkdgeand belief.
 Onorabûutthedatels)ef Detember2$,2018-January11$2019 tnthetokmtyof          Broward           icyht
    Southem     Dlltrictof      Florl
                                    d.        ,thedefendctts)vinlated:
         C* eSection                                      e al:Dezcrèdon
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cityandstate:               Fod Laudedal.,Florlda                     LtlranaS.Sn- ,Unlted State,MaglatrateJudge
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                   AFFIDAVIT IN SUPPORT OF CRIM INAL COM PLAINT

         1,Cam eron M cDowell,beingduly sworn, deelareand state asfollows:

                                      1. INTRODUCTION
          1.     I am a SpecialAgent (SA) with the Federal Bureau of Investigation (FBI),
  currently assigned to the ViolentCrim esand Fugitive Task Force ofthe FBl'sM iam iDivision.

  M y duties involve the investigation ofa variety offederaloffenses, including bank robberies
                                                                                                  ,

  HobbsActrobberies,extortion, interstate threatsand otherviolationsoffederallaw . Iwashired

  by the FBIin M ay of2017 and havebeen assigned to theM iamiDivision sinceOctober2017.

                                lI. PURPO SE OF AFFIDAVIT
                This A ffdavit is subm itted in support of a crim inal complaint charging
  BRANDON FLEURY (FLEURY) with violations ofTitle 18,United States Code, Sections
  875(c)(threats in interstate communications)and 2261A(2)(B)(cyberstalking) Based on the
                                                                                  .


  facts set forth below,I respectfully submit that there is probable cause to believe that, on   or
 about Decem ber 25, 2018,FLEU RY did transmit in interstate comm erce a comm unication
 containing a threatto kidnap a person, in violation ofTitle 18,United States Code, Section
 875(c).lalso submitthatthereisprobablecausetobelievethat, between on oraboutDecember
 22,2018,and January 11,2019, FLEURY did,with the intentto harass and intim idate another

 person,use an interactive computer service and electronic communication system ofinterstate
 commerce to engage in a course of conduct that caused, attempted to cause, or would be
 reasonably expected to cause substantialem otionaldistress to thatperson, in violation ofTitle
 18,United StatesCode,Section2261A(2)(B).
        3.      The statementscontained in this Affidavitare based on m y personalknowledge,
 as wellas inform ation relayed to m e by other law enforcem ent officials in this investigation. 1
 have notincluded in this Aftsdaviteach and every factknown to m e. Rather,1 have included
 onlythefactsthatare necessaryto establish probablecause.



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                            111. SUM M ARY O F PRO BABLE CAUSE
           4.     Between on oraboutDecember22, 2018,and January 11,2019, FLEURY madea
  striesofthreatening and harassing poststhrough the socialm edia application Instagram .l These
  m essagesalliçm entioned''Instagram aceountsused by relativesand friendsofstudentswho were
  killed in the mass shooting atM arjory Stoneman DouglasHigh School(M SD), in Parkland,
  Florida,on February 14,1018 (itthe M SD shootinf'l.z Becaust tht posts ldmentioned''the
  Instagram accounts of these relatives and friends, they received notitscations, including the
  contentsofthe messages,when they accessed theirInstagrnm accounts. One postthreatened to
  kidnap them essagerecipients,whileotherssoughtto harasstherecipientsby repeatedly taunting
  therelativesand friendsoftheM SD victim s, cheering thedeathsoftheirloved onesand,
                                                                                         am ong
  otherthings,askingthem to cry.
                  W hile the posts were made through several different Instagram accounts and
 usernames,recordsforatleasttlve ofthe accounts3 show thatthey were allusing the sam e IP
 address,which was assigned to an address in Santa Ana, California(the SantaAna address)at
 thetim eofrelevantposts. FLEURY residesatthe SantaAnaaddresswith hisfatherand brother.


 11nstagram ownsandoperatesafree- accesssocial-networking websiteofthe sam enam ethatcan
 beaccessed athttp://www.instagram .com . U serscan accesslnstagram through the lnstagram
 websiteorbyusingaspecialelectronicapplication(ç1app'')createdbythecompanythatallows
 usersto accessthe servicethrough an electronicm obile device. U pon creating an lnstagram
 account,an Instagrnm usermustcreateaunique lnstagram usernameand an accountpassword.
 lnstagram allowsitsusersto createtheirown profilepages, postphotos,postcomm entson other
 users'photos,and send directm essagesto otherInstagram users.
        2A ccording to Instagram 'swebsite, one lnstagram usercan ilm ention''another Instagram
 userinacommentorpostbytypingthe%%@ ''symbol,followedimmediatelybytheotheruser's
 usenmme. W hen oneuseriçmentions''another, theiçm entioned''userreceivesanotiscation in
 theirActivity feed,which willshow thecomm entorpost. See
 https://help.in.
 f11            vtagram.com/627963287377328/.?hel
                                                pl-ef=hc fhav&bcf01=368390626577968&bc
    =
        898918476885209&bc(21=1771676186445020(lastac-cessedJanuary 10,2019)       .

          3Thesim ilarsubstance oftherelevantposts, including repeated use ofthe sam e language
 and emojis,indicatesthatthepostscamefrom thesameindividual,regardlessofthefactthathe
 isusing multipledifferentInstagram accountsand usernam es. Because Fleury continually
 changed accountsand usernames,thegovermnenthasnotyetobtained IP addressrecordsfor
 everyaccountand usernamedescribed herein.However,al1oftheaccountsforwhich the
 govem menthasobtained recordshave retlected the sameIP address.

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                FBIagents and other 1aw enforcem ent officers obtained and executed a search
  warranton theSantaAnaaddress.During execution ofthe search warrant, theexecuting officers

  identified FLEURY asthe subjectwho made the online threats FLEURY provided a post-
                                                                  .


  M iranda statementadm itting to creating atleastsome ofthe lnstagram profiles and posting the
  m essagesin an attemptto tauntortitroll''the victim sand gain popularity. FLEURY adm itttd to
  targeting fam ily m emberswho wereVbactivists''who had a largesocialm ediapresence. FLEURY
  adm itted to creating m ultiple Instagram profilesbecause he knew hiscomm entswould resultin
  theprofilesbeing reported to,andremoved by, Instagram .
                         lV. STATEM ENT OF PROBABLE CAUSE
         A.     Friendsand Fam ily oftheM SD Shooting ReceiveHarassing and
                Threatening M essagesin Decem ber2018 and January 2019
               Between December22,2018 and up to January 11, 2019,friendsand fnmily of
  theM SD shootingreceivedharassingandthreateningmessages(viapostsinwhichtheywere
  Stmentioned'')onlnstagram from variouslnstagram handles Those lnstagram m essagestraced
                                                            .


  back to thesame IP address.
               D ecem ber 22.2018 M essaaes
        10.    On or aboutDecember22, 2018,several individuals, who are siblings,friends,
 and parents of victim s of the M SD shooting, fled a harassm entand threating comm unication
 reportwith theBroward County SheriffsOffce (BSO),in Broward County, Florida. Am ong
 the reporting individuals wtre $1JG ,''SCFG '' and :SLS ''the brother, father, and best friend,
 respectively, of itlam ie,'' who was killed in the M SD shooting. Another of the reporting
 individualswasçiM S,''thefatherofanotherstudentkilled in the shooting.
        The reporting individuals showed BSO screenshots of m essage notifications they had
 received on Instagram . The notifications showed postsm ade by otherInstagram accountsthat
 had iimentioned''the Instagram accountsofJG , LS,M S,and others,aswellasanotherInstagram

 usernamethatcontained the name of(butdid notactually belongto)FG A sdescribed below ,
                                                                          .




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  the reporting individuals continued to receive similar notifcations at least up to and through
  January 11,2019,screenshotsofwhich they sim ilarly provided to 1aw enforcem ent.
         11.    On oraboutDecember22,2018, from approxim ately 3:00 a.m .-4:11a.
                                                                                        m.(EST)
  the victim swere m entioned in posts m ade by Instagrnm username S'nikolas.killed.your.sister.''
  Notably, Nikolas Cruz is the nnm e of the adm itted pem etrator of the M SD shooting;he is
  currently in law enforcem ent custody in Broward County, Florida.             The posts from
  linikolas.killed.your.sister''thatiémentioned''JG included thefollowingmessages(amongothers)
  in quick succession:
                a.        :iIkilled yourloved oneshahaha''
                          iicry forme''

                          itYourgriefismyjoy''
                         çiW ith thepowerofmy AR-15, lerased theirexistence.''Thism essage
  wasfollowed by sm iling,applause, andhandgun emojis.
                                                     4

               e.        ç%Igavethem nom ercy''
               f.        çl-
                           l-hey had theirwhole livesahead ofthem and 1fucking stole itfrom
 them.''Thismessagewasfollowed bythreeççcryingwhilelaughing''emojisandthewords
 'çhahaha.''

               g.        :ç1took Jaim eaway from you.''Thism essagewasfollowed by astring of
 i'blowingakiss''emojis.
                         ;$Itook Jaimeaway from you. You'llneversee heragain hahaha.''
                         $çltook ashiton yoursister'sgrave.''Thism essage wasfollowedby a
 çicryingwhilelaughing''emoji,anapplauseemoji,andthreeçépoop''emojis.
        12.    Otherpostsby éfnikolas.killed.your.sister''thatwere directed atLS included:
               a.        i:Ikilled yourfriends,baby girl''
               b.        1ûI'm a m urderer''

       4Emojisaresmallpiduresorsymbolsused in textm essaging orpostson socialmediato
 conveyemotionsorrepresentthingsorideas.


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                          çtDidyou likem y Valentinesgift? lkilled yourfriends.''
          13.    JG's     Instagram    account also       received   a   direct message    from
  itnikolas.killed.your.sister,''which read:$$Ikilled yoursister, Itwasfunl.
                                                                           )Shehad herwholelife
  ahead ofherand Ifucking stole itfrom her. Hahahag.)W armabeatmyass?Comeon,(JG'Sfirst

  nmnej.How fucking bad do you wmma beatthe shitoutofme? W antme to getthe death
  Penalty?''

                 Accordingto recordsprovided by Instagram in responseto asubpoena, the person
  using the accountwith username t'nikolas.killed.your.sister''provided lnstagram with the nam e
  ttNikolasJacob Cruz''andan emailaddressofnikolastheshooter@ gmail.com. The recordsalso
  show that,atthe tim e of the posts described above, on December 22,2018,the accountwas
  accessedfrom IP address68.5.103.67(ççthe67IP address'').
                 During his post-M iranda statem ent on Janum.
                                                             y 16, 2019,FLEURY adm itted to
  using theGinikolas.killed.your.sister''Instagram usernam e.
                 Decem ber24.2018 M essaees
         16.    On oraboutDecem ber24,2018,from approximately 9:40 p.m.-9:50p.m.(EST),
  JG and LS wereSfm entioned''in Instagram postsby anotherInstagram usernam e,
  isbullseyetauntsyou .''Thepostsincluded:
                     -



                a.       çlYoo-hoo!N ikolastook Jaim eaway from you so cry form eplz.'' This

 messagewasfollowedby smilingfaceandapplauseemojis.
                         û1You'11neverseeJaim eagain,littleorphan.Nikolastook herfrom you.''
                During hisvost-M iranda statem ent,FLEURY admitted to using nicknamesthat
 included the name l%bullseye,''areference to am ovie villain.
         18.    Also on December24,2018,from approximately 9:45p.m .-11:13p.m.(EST),
 JG and LS wereiçmentioned''in postsmadeby anotherlnstagram usernam e ççangie.and.lola.''
 Thepostsincludedthefollowingmessages(amongothers)withinthespanofapproximately20
 minutes:
                a.       ççl-low 'sJamie,hun?''

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               b.     SsDead huh?''
                      fdN ikolastookyourloved onesaway from you, doll''
               d.     éiNikolasstole Jaime'sfuture,boo''
               e.     tçEatthepoopforJaimehun''(followedbyfourS%poop''emojis).
                      çûEatthepoopforJaime''(followedbyseveralççpoop''emojis).
               g.     SûEatsomepoopforJaimethisholidayseason''(followedbyseveralpoop
  emojis).
         19.   The nam e associated with the 'sangie.and.lola''accountin lnstagram 's recordsis
  iéAngie& Lola.'' Thoserecordsalso show thatthe accountwasopened with, and used,the67 IP
  address.
        20.    Continuing on oraboutDecember24,2018, from approxim ately 10:00p.m .-
  10:05p.m .(EST),JG andLScontinuedreceivingnotificationsofadditionalmessagespostedby
  lnstagram nameçinik.taunts .''Thepostsincludedthefollowing(among others):
               a.     ççlkilled Jaim e,fool.'' Thism essagewasfollow ed by lfcrying while

  laughing,''smiling,andhandgunemojis.
               b.    4$lstole yoursister'sfuture,buddy, W ith thepowerofmy AR-159'

  (followedbysmiling,handgun,andapplauseemojis).
                     1élkilled Jaim ehahaha''and
               d     ççl'm hermurderer.''
               Accordingto recordssubpoenaed from Instagram ,the nam eassociated with the
 'fnik.taunts ''accountin Instagram 'srecordsisçtNikolas.''However,thoserecordsshow that,at
 thetim eofthe messagesdescribed above,the accountwasbeing accessed by the67 IP address.
               Decem ber25.2018 M essages
        22.    On oraboutD ecem ber25,2018,from approxim ately 7:59 p.m.-8:02p.
                                                                              m.(EST),
 JG and LS werem entioned in morepostsfrom Instagram usernam edlteddykillspeople.'' These
 postsincluded:



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                      l%l'm yourabductorgsmileand applaudingemojisj1'm kidnapping you
  fool''(followedbytwoemojisshowingalock,aswellasapplaudingand dtblowingakiss''
  emojis).
                 b.     çiIkilled Janice Ottand DeniseNaslund.''
         23.    Notably,Janice Ottand Denise Naslund were abducted and m urdered by serial
  killer Ted Bundy in 1974. Although FLEU RY initially stated he did not recall using the
  Séteddykillspeople''usem am e,during hisinterview ht admitted to having a strong interestin Ted
  Bundy and having researched him .
                Continuing on oraboutDecem ber25, 2018 from approxim ately 9:21p.m .-9:23
  p.m .,JG and LS were limentioned''in Instagram posts from usernam e çstedtheabductor.'' The
  postsincluded:
                a.     tiNikolasm urdered yourfriendsand teachersbutguesswhat? lmurdered
  JaniceOttand DeniseNaslund.''
                b.     ût1kidnapped them and killed them both on July 14, 1974.55
         25.    Based on thethreatto kidnap in thepostsfrom tûteddykillspeople,''Instagram
  voluntarily provided theIP addressused by thataccounton an em ergency basisto law
  enforcement.Instagram identifed the 67 IP addressastheIP addressused by thataccountatthe
  tim eofthethreats.
                December31.2018 M essaees
         26.    On oraboutDecem ber31,2018,atapproxim ately 12:37a.m.(EST)JG was
  m entioned in postsby Instagram username ltnikolasthem urderer.''Thepostsincluded:
                a      ttltook away Jaime'sfuture'';and
                b.     çflwittlt(AS)willntverplaymusicagain.''Thismessagewasfollowedby
  smiling,applauding,and handgun emojis. This message also mentioned %IM S,''whose sons
 (W S,''wasalso killed in the M SD shooting.




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 '*




                 Januarv 9.2019 M essages
                 On oraboutJanuary 9,2019,between approxim ately 12:00 -2:00 a.m.(EST),JG,
  LS,and otherswereéfm entioned''in additionalpostsby the tinik.taunts ''usernameand
  lnstagram usem ame tfbullseyeteaseshisvictim s.''Thepostsincluded:
                a.      IIW HOO!! Ikilled Jaim eand ScottBeigelhehehaha''
                b.      $û1shootthrough thewindow''
                        Slwith my AR-15''
                        itldey om han''
                e.      ViNikolastook Scottaway from you and hisfamily''and
                f.      çûhey you!1killed ScottBeigel!Hahahal''Sél-ley orphan.''s
         28.    Continuing on oraboutJanuary 9,2019, between approxim ately 8:13p.m .and
  9:00 p.m .,JG and otherswerementioned in postsby Instagram username çsthe.douglas.shooter.''
  Thepostsincluded(amongothers):
                a.      1$1killed ScottBeigel1shothim dead''
                b.     1$lenjoyedittoo''
                       VlW ith thepowerofmy AR-15,you a11die''
                d.     :$I'm a m urderer.It'sw hat1do,fool''
                       l'l'm a m urderer.Hahahahal''
                       ç$Ikilled Scott!Hahaha!W ith thepowerofmy AR-15''and
                g.     ç$1'm ahom icidaloutrage,mother*#*ersl''
        Januarv 10 - 11.2019 M essaees
        29.     On oraboutJanuary 10,2019,JG and otherswerem entioned in additionalposts
 by the finikolas.the.m urderer ''usernam e.




         5 ScottBeigelwasateacherkilled during the M SD shooting. W hen asked duringhis
 interview ifhe could name som eoftheM SD shooting victim s, FLEURY fsrstnamed Scott
 Beigel.

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                 On oraboutJanuary 11,2019,from approxim ately 5:58a.m.- 6:23a.
                                                                              m .(EST),
   JG and otherswere mentioned in postsfrom Instagram usernam eEldani.dont.give.two.fucks.''
   Thesepostsincluded(amongothers):
                 a.      EtN ikolaskilled yourloved oneshuh?''
                 b.      tiN ikolaskilled ScottBeigelin cold blood.'' Thism essagewasfollowed

   bythreeéçcryingwhilelaughing''emojis.
                         ûillehehaha! M r.Beigelisdeadl''and
                 d       tç1tauntyou.''
          31.    Continuing on oraboutJanuary 11,2019,from approximately 6:26 a.m .- 6:29

   a.m.(EST),JSandotherswerementionedinpostsfrom lnstagram usemame
   iibullseye.taunts.and.teases.''Thesepostsincluded(nmongothers):
                 a*      tillahaha'hey orphanl''
                 b.     itcome atm elittleom han! lkilledyourfatherl''and
                        tiYoo-hoo!!Orphan! Let'splayl''
         32.     Continuing on oraboutJanuary 11,2019,between approximately 5:58 a.m . and
   6:23a.m.(EST),JG andotherswerementionedinadditionalpostsfrom lnstagram username
  the.douglas.shooter.Theseincluded(amongothers):
                 a.     lçW ith the powerofm y AR-15,1take yourloved onesaway from you
  PERM ANENTLY''and
                 b.     lil-lahaha!I'm theDouglasshooter!SCREAM !!''
         33.     Asaresultofthethreatofmurder,Instagram voluntarily identified the IP address
  related to usernam e tsthe.douglas.schooter''to law enforcem ent. The IP address used by this
  usem am ewasthe67 IP address.
         34.    O n oraboutJanum.y 4,2019,Detective M ealer ofBSO and linterview ed JG , FG ,
  LS,and M S. These individualsadvised they received notificationsvia Instagram ofthe postsin
  which they were m entioned described above. A11 the victim s viewed the posts and
  acknowledged they caused emotionaldistress. Specitk ally,the postm ade on Deeember 25,

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       2018,by t%teddykillspeople,''which stated kûl'm yourabductor1'm kidnapping you fool''placed
       JG,FG,LS,and M S in fear. On or aboutJanuary 10,2019,the Affiantspoke again with FG,
       who indicated thatboth he and JG remain in fear from the kidnapping threatand are afraid to
       respond to therepeated m essages.
              B.     The IP A ddressesA ssociated w ith the H arassing lnstagram PostsT races
                     B ack to the Santa A na A ddrcss
                     A query ofthe 67 IP address revealed itwas serviced by Cox Com munications.
       Cox Com munications inform ed law enforcement that this IP address was assigned to the
       subscriberaccountof Patrick Fleury (fatherofBrandon FLEURY),located atthe Santa Ana
       address, from October8,2017,through Decem ber27,2018.6 According to queriesofthe 1aw

       enforcem entdatabase CLEAR,the Santa Ana address is associated w ith FLEURY,his father,
       and hisbrother.
              36.    Law enforcementalso conducted a check ofthe W i-Fisignalsaccessible from the
       street outside the Santa Ana address. Four different W i-Fi connections appeared. Law
      enforcem ent attem pted to access a11 four W i-Fi connections but discovered they were a1l
      password-protected and inaccessible without the password. Based on m y training and
      experience,thefactthatthe SantaAna address'sW i-Fiisnotpublic meansthatitisunlikely that
      an individualnotliving in theaddresswould havethe 67 IP address.
                    Execution ofthe Search W arrant
             37.    On January 11,2018,           M agistrate Judge Edward lnfante, of the Central
      DistrictofCalifornia,signed a Search W arrantfor the Santa Ana address,underCase Num ber
      8:18-M J-00022.
             38.    On January 16,2018,atapproximately6:00a.m.(PST),FBlagentsand otherlaw
      enforcem entofficers executed the Search W arrantatthe Santa Ana address. Upon execution,
      they found FLEU RY, his father, and his brother in the hom e. FLEU R Y m ade spontaneous

             6Law enforcem entrequested this inform ation priorto the posts m ade on D ecem ber31,
      2018and January 9-11.2019.A requestto Cox forinfonnation on theassignmentofthe 67 IP
      addresson theselaterdatesiscurrently pending.

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  statem ents to the effectthatthe agents were there because of Slsom e stupid shit''he had done on
  the Internet.
         39.      Based on these statements and subsequent statem ents during his post-M iranda

  interview,1aw enforcement identifed FLEURY asthe subjectwho made the online threats.
  FLEURY adm itted to creating m ultiple Instagram profiles, including using variations on
  nikolastheshooter and nikolas, the.douglas.shooter, and bullseye. FLEURY described his
  t'fascination''with Nikolas Cruz,other mass shooters,Ted Bundy,and otherserialkillers. He
  further admitted to posting the messages in an attem pt to iûtroll'' the victim s, trying to tiget
  reactions''from people and be controversial. FLEURY stated he was m otivated by gaining
  popularity and notoriety afterposting the messages.FLEURY admitted to targeting shooting
  victim 's fam ily m emberswho were çtactivists''and who had large who had large socialmedia
  presences. FLEURY adm itted to creating multiple Instagram profles because he knew his
  comments would result in the profiles being reported and removed. FLEURY did notshow
  rem orse forposting the com ments butexplained he would notfollow through on the threatshe
  communicated. He claimed that his m essages were notthreats,butwere %ûm ore like tatmts.''
  However,when asked whetherhe could see why amessageslike '$Iam yourabductor''and $i1am
  kidnapping you,fool''would feelthreatening to the messagerecipients,FLEURY responded,$1I
  guessso.'' He also explained thathe established multiple Instagram accounts,anticipating that
  lnstagram would shut down at least som e of those accounts based on complaints about his

  m essages.
         40.      FLEURY furtheradm itted to using histabletto authorthetaunting m essages.The
  tabletwascollected asevidence.7
                                            C O N C LU SIO N
                  Based on the foregoing facts,Irespectfully subm itthatthere isprobable cause to
  believe that,on oraboutDecem ber 25,2018,FLEURY did transm itin interstate com merce a

         1A search ofthistablet, and otherelectronicdevicesfound in theSantaAnaaddress,
  pursuantto the search w arrant,isongoing.

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     cûmmunication containing a threatto kidnap a person,in violation ofTitle 18,United Sztes
     Code,Section275(c), lalsosubmltthatthtrtisprohbk causttobtlievethat.betwten ûnor
     abûutDeccmber22,2012,and Janual 11,2019,FLEURY did,with the intentto harassand
     intimidate anothery rson,us: an interactive computerservice and electronic communication
     system ofinterstatecommerceto engagein acourseofconductthatcaused.attemptedtocause,
     ûr would be reasonably expected to cause substantialemotionaldistress to that person,in
     viclationofTitle18,UnhedStatesCode,Section2261A(2)(B).




                                                    C= eron M cDow:1
                                                    SpecialAgent
                                                    FederalBureau oflnvestigation

     Swoy At andsubscribedbefûreme
     thi:/ 1 dayofJanuary,2019.



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           NA S.SNOW
     UNITED STATESM AGISTM TE JUDGE




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